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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
STRIKE 3 HOLDINGS, LLC,                    :
       Plaintiff,                          :
                                           :   CIVIL ACTION NO. 19-2732
              v.                           :
                                           :
JOHN DOE, subscriber assigned IP address   :
73.165.226.224,                            :
       Defendant.                          :
__________________________________________:

                                             ORDER

       AND NOW, this 3rd day of July 2019, upon consideration of Plaintiff’s Motion for

Leave to Serve Third Party Subpoenas Prior to a Rule 26(f) Conference [Doc. No. 2] and for

good cause shown, it is hereby ORDERED that the Motion is hereby GRANTED as follows:

       1.      Plaintiff may serve the Internet Service Provider (“ISP”) for Internet Protocol

(“IP”) address 73.165.226.224 with a Rule 45 subpoena commanding the ISP to provide Plaintiff

with the true name and address of Defendant John Doe to whom the ISP assigned the IP address

at issue. Plaintiff shall attach to any such subpoena a copy of this Order.

       2.      Plaintiff may also serve a Rule 45 subpoena in the same manner as above on any

related intermediary ISP that is identified in response to a subpoena as a provider of internet

services to Defendant John Doe.

       3.      Plaintiff shall attach the Court-Directed Notice Regarding Issuance of

Subpoena, a copy of which is attached to this Order, to the aforementioned Rule 45 subpoena.

The Rule 45 subpoena shall instruct the ISP to distribute a copy of said Notice to Defendant

within seven days of service of the subpoena.
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       4.      With respect to any ISP that qualifies as a “cable operator” as defined by 47

U.S.C. § 522(5), this ruling further authorizes disclosure of information pursuant to 47 U.S.C.

§ 551(c)(2)(B).

       5.      Any future notices to Defendant in this case must be approved by the Court.

       6.      Plaintiff may use the information disclosed in response to a Rule 45 subpoena

solely for the purpose of protecting Plaintiff’s rights as set forth in its Complaint.

       It is so ORDERED.

                                                               BY THE COURT:

                                                               /s/ Cynthia M. Rufe

                                                               _______________________
                                                               CYNTHIA M. RUFE, J.




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                                COURT-DIRECTED NOTICE
                            REGARDING ISSUANCE OF SUBPOENA

         A subpoena has been issued directing Comcast Cable, your Internet Service Provider (“ISP”),
to disclose your name. The subpoena has been issued because you have been sued in the United States
District Court for the Eastern District of Pennsylvania in Philadelphia, PA, as a “John Doe” by Strike
3 Holdings, LLC (“Plaintiff”). You have been sued for using the Internet and the BitTorrent protocol
to infringe copyrights. The Plaintiff has identified you only as a “John Doe” and has served a subpoena
on your ISP to learn your identity. This notice is intended to inform you of some of your rights and
options.

                    YOUR NAME HAS NOT YET BEEN DISCLOSED.
         YOUR NAME WILL BE DISCLOSED IN 21 DAYS IF YOU DO NOT CHALLENGE
                              THE SUBPOENA.

        Your name has not yet been disclosed. The Plaintiff has given the Court enough information
about your alleged infringement to obtain a subpoena to identify you, but the Court has not decided
whether you are liable for infringement. You can challenge the subpoena in Court. You have twenty-
one days from the date of this notice to file a motion to quash or vacate the subpoena. If you file a
motion to quash the subpoena, your identity will not be disclosed until the motion is resolved (and the
Plaintiff cannot proceed against you until you are identified). The Resource List below can assist you
in locating an attorney to help you determine how to respond to the subpoena. If you do not file a
motion to quash at the end of the 21-day period, your ISP will send the Plaintiff your identification
information.

                OTHER ISSUES REGARDING THE LAWSUIT AGAINST YOU

        Once you are named as a defendant, the Plaintiff must establish jurisdiction over you in
Pennsylvania to maintain a lawsuit against you in the District Court in Philadelphia. If you do not live
or work in Pennsylvania, or visit the state regularly, you may be able to challenge the Pennsylvania
court’s jurisdiction over you. If your challenge is successful, the case in Philadelphia will be dismissed,
but the Plaintiff may be able to file against you in another state where there is jurisdiction.

                                          RESOURCE LIST

       The organizations listed below provide guidance on how to find an attorney. If you live in or
near Pennsylvania or Philadelphia, the second and third listings below provide referrals for local
attorneys. If you need a lawyer in a state other than Pennsylvania, you may contact that state’s bar
association.

American Bar Association - http://www.abanet.org.

Pennsylvania Bar Association - www.pabar.org; Lawyer referral service - (800) 692-7375 or
(717) 238-6807.

Philadelphia Bar Association - www.philabar.org; Lawyer referral service - (215) 238-6333
